Case 5:15-cv-02225-PSG-KK Document 71 Filed 05/17/17 Page 1 of 2 Page ID #:1053




   1 SHAWN C. WESTRICK (SBN 235313)
     SWestrick@kswlawyers.com
   2 THE WESTRICK LAW FIRM, P.C.
     11075 Santa Monica Blvd., Ste. 125
   3 Los Angeles, CA 90025
     Telephone: (810) 746-5808
   4 Facsimile: (810) 948-8878
   5 Attorneys for Plaintiffs
     Nicole Torres, Tanya Collins &
   6 Andrew Hoeflin
   7 MALCOLM A. HEINICKE (SBN 194174)
     Malcolm.Heinicke@mto.com
   8 MARJA-LIISA OVERBECK (SBN 261707)
     Mari.Overbeck@mto.com
   9 MUNGER, TOLLES & OLSON LLP
     560 Mission Street
  10 Twenty-seventh Floor
     San Francisco, CA 94105-2907
  11 Telephone: (415) 512-4000
     Facsimile: (415) 512-4077
  12
     Attorneys for Defendant
  13 Wells Fargo Bank, N.A.
  14
  15                        UNITED STATES DISTRICT COURT
  16                      CENTRAL DISTRICT OF CALIFORNIA
  17
  18 NICOLE TORRES, TANYA COLLINS,                Case No. 15-CV-02225-PSG-KK
     ANDREW HOEFLIN, individually, and
  19 on behalf of other members of the general    NOTICE OF SETTLEMENT
     public similarly situated,                   AND PENDING STIPULATION
  20                                              OF DISMISSAL
                  Plaintiffs,
  21                                              Judge:   Hon. Philip S. Gutierrez
            vs.
  22
     WELLS FARGO BANK, N.A., a national
  23 association; and DOES 1 through 10,
     inclusive,
  24
                     Defendant.
  25
  26
  27
  28
       34847733.1
                    NOTICE OF SETTLEMENT AND PENDING STIPULATION OF DISMISSAL
Case 5:15-cv-02225-PSG-KK Document 71 Filed 05/17/17 Page 2 of 2 Page ID #:1054




   1            Pursuant to Civil Local Rule 40-2, Plaintiffs Nicole Torres, Tanya Collins,
   2 and Andrew Hoeflin and Defendant Wells Fargo Bank, N.A., hereby notify the
   3 Court that the parties anticipate that Plaintiffs will be filing a dismissal in this action
   4 that will result in dismissal of the above-captioned matter with prejudice as to all of
   5 their individual claims as pled in the action. The parties therefore respectfully
   6 request that all pending deadlines and the trial date be vacated and the parties
   7 ordered to show cause if no dismissal has been filed by June 23, 2017.
   8
   9
  10 DATED: May 17, 2017                          The Westrick Law Firm, P.C.
  11
  12
                                                  By: /s/ Shawn C. Westrick
  13                                                       SHAWN C. WESTRICK
  14                                              Attorneys for Plaintiffs
  15
  16
       DATED: May 17, 2017                        Munger, Tolles & Olson LLP
  17
  18
  19                                              By: /s/ Malcolm A. Heinicke
                                                         MALCOLM A. HEINICKE
  20
                                                  Attorneys for Defendant
  21
  22
  23                                  FILER’S ATTESTATION
  24 Pursuant to Local Rule 5-4.3.4, regarding signatures, I attest that concurrence in the
  25 filing of the document has been obtained from each of the other signatories listed
  26 above.
  27
  28
       34847733.1
                                                   -2-
                       NOTICE OF SETTLEMENT AND PENDING STIPULATION OF DISMISSAL
